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     Attorneys for Defendants CITY OF FRESNO, FRESNO POLICE DEPARTMENT,
10   JERRY DYER, DARREL FIFIELD, MARTY WEST, DENNIS MONTEJANO, JOHN
     FRIES, ROGER ENMARK, GREG GARNER, FREEMAN HUNTER, MICHAEL
11   GUTHRIE, and KEITH FOSTER
12
                             UNITED STATES DISTRICT COURT
13
                            EASTERN DISTRICT OF CALIFORNIA
14
15
     MICHAEL NEVEU,                            ) Case No. CIV-F-04-6490 OWW/JLD
16                                             )
                           Plaintiff,          )
17                                             )
            v.                                 )     STIPULATION AND ORDER TO
18                                             )     DISMISS DARREL FIFIELD
     CITY OF FRESNO, a municipality;           )
19   FRESNO POLICE DEPARTMENT, a               )
     department thereof; JERRY DYER,           )
20   individually and as Assistant Chief and   )
     Chief of Police for the Fresno Police     )
21   Department; DARREL FIFIELD,               )
     individually and as Deputy Chief for the  )
22   Fresno Police Department; MARTY           )
     WEST, individually and as a Captain for   )
23   the Fresno Police Department; DENNIS      )
     MONTEJANO, individually and as a          )
24   Sergeant for the Fresno Police            )
     Department; JOHN FRIES, individually      )
25   and as a Lieutenant for the Fresno Police )
     Department; ROGER ENMARK,                 )
26   individually and as a Captain and Deputy )
     Chief for the Fresno Police Department;   )
27   GREG GARNER, individually and as          )
     Lieutenant and Captain for the Fresno     )
28   Police Department; FREEMAN HUNTER, )

                                                                               Stip re Dismissal
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 1   individually and as a Sergeant for the    )
     Fresno Police Department; MICHAEL         )
 2   GUTHRIE, individually and as a Lieutenant )
     for the Fresno Police Department; KEITH )
 3   FOSTER, individually and as a Lieutenant )
     for the Fresno Police Department; and     )
 4   DOES 1 through 10,                        )
                                               )
 5                        Defendants.          )
                                               )
 6
           IT IS HEREBY STIPULATED AND AGREED, by and among Plaintiff Michael
 7
     Neveu and Defendant Darrel Fifield, through their counsel of record, that:
 8
           Plaintiff dismisses Defendant Darrel Fifield from this action, without prejudice.
 9
10
     Dated: May 8, 2007                       BETTS & WRIGHT
11
12
                                              By
13                                                   Joseph D. Rubin
                                              Attorneys for Defendants
14                                            CITY OF FRESNO, FRESNO POLICE
                                              DEPARTMENT, JERRY DYER, DARREL
15                                            FIFIELD, MARTY WEST, DENNIS
                                              MONTEJANO, JOHN FRIES, ROGER
16                                            ENMARK, GREG GARNER, FREEMAN
                                              HUNTER, MICHAEL GUTHRIE, and KEITH
17                                            FOSTER
18
     Dated: May 8, 2007                       LACKIE & DAMMEIER LLP
19
20
                                              By
21                                                   Michael A. McGIll
                                              Attorneys for Plaintiff
22                                            MICHAEL NEVEU
23
                                             ORDER
24
25         IT IS SO ORDERED.

26   Dated: May 8, 2007                           /s/ Oliver W. Wanger
     emm0d6                                  UNITED STATES DISTRICT JUDGE
27
28

                                               -2-                                  Stip re Dismissal
